      Case: 1:23-cv-16048 Document #: 32 Filed: 01/10/24 Page 1 of 2 PageID #:832




                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 NENE THOMAS,

         Plaintiff,                                         Case No.: 1:23-cv-16048

 v.                                                        Judge Manish S. Shah

 THE PARTNERSHIPS AND UNINCORPORATED                       Magistrate Judge Heather K. McShain
 ASSOCIATIONS IDENTIFIED ON SCHEDULE
 “A”,

         Defendants.

                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                    DEFENDANT
                 59                                    mvptopDirect
                  2                                      ThreeTu


DATED: January 10, 2024                      Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
                                                     Keith Vogt, Ltd.
                                                     33 W. Jackson Blvd., #2W
                                                     Chicago, Illinois 60604
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                                                     ATTORNEY FOR PLAINTIFF




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    Case: 1:23-cv-16048 Document #: 32 Filed: 01/10/24 Page 2 of 2 PageID #:833




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on January 10, 2024 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt




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